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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                §
 DISH NETWORK L.L.C.,                           §
                                                §   Civil Action No. 4:20-cv-02958
          Plaintiff,                            §
                                                §
     v.                                         §
                                                §
 MOHAMED OMAR, HOSSAM ABD                       §
 ELGHANY, and MOUSTAFA MAATOUK,                 §
                                                §
 individually and together d/b/a Universe
                                                §
 IPTV; Universe TV; World-                      §
 Universeiptv.com; Uni-Update.com; and Uni-     §
 Web.online,                                    §
                                                §
          Defendants.                           §
                                                §


                       FINAL JUDGMENT AND PERMANENT INJUNCTION

       This matter came before the Court on the Motions for Default Judgment filed by Plaintiff

DISH Network L.L.C. (“DISH”) against Defendants Mohamed Omar, Hossam Abd Elghany, and

Moustafa Maatouk (collectively “Defendants”) (Dkts. 30, 35).

       Having considered the submissions in support of DISH’s Motions, and the pleadings on

file, the Court Grants the Motions and finds:

       DISH owns copyrights in the works that air on the following channels: Aaj Tak; Al Hayah

1; ART Cima; ARY Digital; ARY News; ATN Bangla; ATN News; B4U Movies; CBC; CBC

Drama; Channel-i; Dunya TV; Express Entertainment; Express News; Future TV; Geo News; Geo

TV; Hekayat; Hum Masala; Hum Sitaray; Hum TV; Hum World; India Today; LBC; LBCI (a/k/a

LDC); MBC1; MBC Drama; MBC Kids (a/k/a MBC3); MBC Masr; Melody Aflam; Melody
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Classic; NTV Bangla; SAB; SET (a/k/a Sony SET); SET MAX; Zee Aflam; and Zee Alwan

(collectively, the “Protected Channels”). 1

       Defendants own and operate the Universe IPTV streaming television service (the

“Universe Service”). Defendants profit by selling Universe Service subscriptions (“Universe

Subscriptions”) that provide access to the Universe Service including the Protected Channels.

       Defendants, without authorization from DISH, transmitted the Protected Channels and the

copyrighted works that air on those channels to users of the Universe Service in the United States.

In doing so, Defendants directly infringed DISH’s exclusive rights to distribute and publicly

perform the works that air on the Protected Channels. Judgment is hereby directed to be entered

against Defendants on Count I of DISH’s First Amended Complaint (Dkt. 10) for direct copyright

infringement.

       Defendants also induced and materially contributed to infringement of DISH’s exclusive

distribution and public performance rights by providing users of the Universe Service in the United

States with access to the Protected Channels and the programs that make up the Protected

Channels, despite having the ability to prevent such access. Defendants sell Universe

Subscriptions in the United States, advertise the Universe Service as a means of accessing the

Protected Channels, and the Universe Service provides users in the United States with access to

the Protected Channels. Defendants’ actions create or expand the audience for the infringement



1
  DISH’s exclusive rights as to the Protected Channels are currently in effect, with the exception
of MBC1, MBC3, MBC Drama and MBC Kids (the “MBC channels”) in which DISH’s exclusive
rights expired on September 23, 2020; ARY Digital and ARY News (the “ARY channels”) in
which DISH’s exclusive rights expired on April 26, 2021; Geo News and Geo TV (the “Geo
channels”) in which DISH’s exclusive rights expired on April 15, 2021; Channel-i in which
DISH’s exclusive rights expired on April 14, 2021; and Zee Aflam and Zee Alwan in which
DISH’s exclusive rights expired on May 12, 2021. DISH currently holds the non-exclusive license
and right to distribute and publicly perform in the United States all programming aired on the MBC
channels, ARY channels, and Geo channels.
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of DISH’s exclusive distribution and public performance rights in the United States. Defendants

had knowledge of the infringing activity as shown by their receipt of numerous notices of

infringement demanding that they cease transmitting the Protected Channels, or otherwise cease

distributing, selling, and promoting Universe Subscriptions in the United States.

       Defendants are contributorily liable for copyright infringement because they served as the

intermediary between third parties who directly infringe DISH’s exclusive distribution and public

performance rights and users of the Universe Service, who became a necessary component of the

infringement – the audience. Judgment is hereby directed to be entered against Defendants on

Count II of DISH’s First Amended Complaint (Dkt. 10) for inducing and materially contributing

to copyright infringement.

       Based on these findings, the Court Orders:

       1.      DISH Network L.L.C. shall have judgment against Defendants, jointly and

severally, in the total amount of $7,050,000, with interest on this principal amount according to

the statutory rate pursuant to 28 U.S.C. § 1961(a). This amount consists of $150,000 for each of

the 47 registered, copyrighted works that DISH owns and that Defendants willfully and

maliciously infringed by transmitting and providing access to without authorization on the

Universe Service;

       2.      Defendants and any of their officers, agents, servants, employees, attorneys, or

other persons, including all dealers, distributors, and retailers of Universe Subscriptions, acting in

active concert or participation with any of the foregoing that receives actual notice of the order,

are permanently enjoined from:

               a.    transmitting, streaming, distributing, or publicly performing in the United

States, with any Universe Subscription, or any other device, application, service, or process, any



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of the Aaj Tak; Al Hayah 1; ART Cima; ATN Bangla; ATN News; B4U Movies; CBC; CBC

Drama; Dunya TV; Express Entertainment; Express News; Future TV; Hekayat; Hum Masala;

Hum Sitaray; Hum TV; Hum World; India Today; LBC; LBCI (a/k/a LDC); Melody Aflam;

Melody Classic; NTV Bangla; SAB; SET (a/k/a Sony SET); and SET MAX channels (the

“Injunction Channels”) or any of the programming that comprises any of the Injunction Channels;

               b.   distributing, selling, providing, or promoting any product or service in the

United States, including any Universe Subscription, that comprises the whole or part of a network

or service for the distribution and public performance of the Injunction Channels or any of the

programming that comprises any of the Injunction Channels;

               c.   advertising, displaying, or marketing any Universe Subscription, or service in

connection with the Injunction Channels or the programming that comprises the Injunction

Channels;

               d.   inducing or contributing to another’s conduct that is prohibited by a-c above;

and

               e.   selling, leasing, licensing, assigning, conveying, distributing, loaning,

encumbering, pledging, or otherwise transferring, whether or not for consideration or

compensation, any part of Defendants’ infringing operations.

        3.     Non-parties providing any form of electronic storage, computer server, website

hosting, file hosting (including data center and colocation, primary and backup storage, back-end),

domain hosting, domain name registration, privacy protection for domain registration,

anonymization for domain registration, proxy, content delivery network services, content

acceleration (including traffic routing, bandwidth, content delivery networks (“CDN”), web

content optimization, website/data security), advertising (including search based online



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advertising), social media services, and email services used in connection with any of the activities

enjoined under Paragraph 2, and who receive actual notice of this Order, are enjoined from

providing such services in connection with any of the activities enjoined under Paragraph 2. This

includes but is not limited to Squitter Networks disabling IP addresses 77.247.109.127;

77.247.109.129;      77.247.109.139;      77.247.109.143;      77.247.109.146;      77.247.109.159;

77.247.109.222; 185.53.89.11; and 185.53.89.33; HostPalace Web Solution Private Limited

disabling IP address 185.63.254.137; and all future service providers disabling all IP addresses

used to transmit any of the Injunction Channels on the Universe Service. The IP addresses may

be reassigned to other customers after they have been disabled and are no longer being used in

connection with any of the activities enjoined under Paragraph 2.

       4.      VeriSign, Inc., Donuts Inc., Minds + Machines Group Limited, doMEn d.o.o., The

Internet Foundation of Sweden, and any other registries and registrars of the domain names World-

Universeiptv.com,     Uni-Update.com,      Universe-ip.com,     Universeiptv.com,      Olink1.rocks,

Olink2.rocks, Olink3.rocks, Olink4.rocks, Olink5.rocks, Olink7.rocks, Universe-ip.world,

Universepro9.vip, The-phoenix.me, and Ui-tv.se, within 48 hours of receiving this Order, shall (i)

disable, implement a hold, or otherwise make the websites and any other content located at the

domain names inaccessible to the public; (ii) transfer the domain names to DISH, including

changing the registrar of record to the registrar selected by DISH at DISH’s reasonable expense;

and (iii) after the transfer, reenable the domain names and remove any hold so that DISH may fully

control and use the domain names.

       5.      Registries and registrars shall disable, implement a hold, or otherwise make the

websites and any other content located at the domain names inaccessible to the public on all future

domain names used by Defendants (1) in the course of transmitting the Injunction Channels on the



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Universe Service or other service in the United States, or (2) to distribute, provide, sell, or promote

the Universe Service or other service in the United States, within 48 hours of receiving this Order

and a declaration from DISH or its agent stating that the domain names are being used in such a

manner. Such domain names shall remain disabled and on hold until further order of this Court,

or until DISH provides written notice to the registry or registrar that the domain names shall be

reenabled and any hold removed.

       6.      Violation of this Order shall subject Defendants and all other persons bound by this

Order to all applicable penalties, including contempt of Court.

       7.      The Court shall retain jurisdiction over this action for the purpose of enforcing this

final judgment and permanent injunction.

       It is so Ordered.


Dated: _________________________




                                                       Sim Lake
                                                       United States District Judge




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